lN THE UNlTED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION
(Write the District and Division, ifany, ofthe
court in which the complaint is filed )

 

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(Prisoner Complaint)

 

(Write the jitli name of each plaintij" who is filing `Case §0_7 m 5 § 6 8 "' BV - S ¢=- BP * P
this complaint che names of att the plaintiffs (;0 be filled in by the C[erk;¢ OM¢,-e)

cannot fit in the space above, please write "see
attached ” in the space and attach an additional

page with the jitli list afnames.)

-against-
Taney Cv B`a.fl
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# aga col RGYPF'

(Write the full name ofeach defendant who is
being sued tj‘ the names afail the dej%ndants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the jail iist ofnames. Dc not include
addresses here.)

 

REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury. _E_Yes _E_ No

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I.

The P`arties w This complaint

A. The Plaiotiff{s)

Provide the information below for each plaintiff named in the complaint Attach
additional pages if needed.

Name 2 n iq -r r“T flra steamer 11%;7/;5

AIl other names by which you have been known:

 

 

 

  

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B. 'rhe nerendanc(s) 6 ct 5 0 6

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization or a corporation

Make sure that the defendant(s) listed below are identical to those contained in the above
caption.

For an individual defendant, include the person’s job or title (if known) and check whether
you are bringing this complaint against them in their individual capacity or official capacity,
or both.

Attach additional pages if needed.

Defendant No. l

 

 

 

 

 

 

Name go kc f
Job or Title C » 0 l
(if known)
Shierd Number ll:l'_Q~ 5 q
Employer Ton c "/ Crz j].o l l
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II.

Defendant No. 2

 

 

 

 

 

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Job or Title § he l §§ A Q:é Z'd¢,¢:,\¢ 662 ,Jatl
(it` known)
Shield Number
Employer 5 7?] 76
Address
m Individual capacity E Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights,
privileges, or immunities secured by the Constitution and [federal laws].” Under Bivens v. Six
Unimown Named Agents of F ederal Bureau ofNarcotics, 403 U.S. 388 (1971), you may sue
federal officials for the violation of certain constitutional rights.

A. Are you bringing suit against (check all that appiy):

l:] Federal officials (a Bivens claim)
§§ stale or local officials la § 1983 clalm)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [fedcral laws].” 42 U.S.C. § 1983.
Plaintiffs suing under Bivens may only recover for the violation of certain
constitutional rights.

What federal constitutional or statutory right(s) do you claim is/are being violated by
state or local officials?

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III. Prisoner Status
lndicate whether you are a prisoner or other confined person as follows (check ali that appt§)):

Pretrial detainee

Civilly committed detainee
Imrnigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

l:l|:|E|:]l:|[:|

Other (explain)

 

IV. Statement of Claim

Write a short and plain statement of FACTS that support your claim. Do not make legal
arguments You must include the following information:

' What happened to you?

* What injuries did you suffer?

- Who was involved in what happened to you?

¢ l-low were the defendants involved in what happened to you?
- Where did the events you have described take place?

- When did the events you have described take place?

lf more than one claim is asserted, number each claim and write a short and plain statement of
each claim in a separate paragraph Attach additional pages if needed.

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V. Injuries
if you sustained injuries related to the events alleged above, describe your injuries and state
what medical treatment, if any, you required and did or did not receive.
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VI. Relief

State briefly what you want the court to do for you. Make no legal arguments Do not cite any
cases or statutes. If requesting money damages, include the amounts of any actual damages
and/or punitive damages claimed for the acts alleged Explain the basis for these claims.

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VII. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § l997e(a), requires that “[n]o action
shall be brought with respect to prison conditions under section 1983 of this title, or any other
Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such

administrative remedies as are available are exhausted.”

Administrative remedies are also known as grievance procedures Your case may be
dismissed if you have not exhausted your administrative remedies.

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A. Did your claim(s) arise while you were confined in ajail, prison, or other correctional

facility?
m Yes

l No
If yes, name the jail, prison, or other correctional facility where you were confined at
the time of the events giving rise to your claim(s).

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B. Does the jail, prison, or other correctional facility where your claim(s) arose have a
grievance procedure?

E Yes
m No
m Do not know

C. Does the grievance procedure at the jail, prison, or other correctional facility where
your claim(s) arose cover some or all of your claims?

Yes
No
Do not know

if yes, which claim(s)?

 

 

 

D. Did you file a grievance in the jail, prison, or other correctional facility where your
elaim(s) arose concerning the facts relating to this complaint?

33 Yes
l No

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if no, did you file a grievance about the events described in this complaint at any other
jail, prison, or other correctional facility?

Yes
m No

E. lf you did file a grievance:

l. Where did you file the grievance?

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2. What did you claim in your grievance? (Attach a copy of your grievance if
available)

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3. What was the result, if any? Mttach a copy of any written response to your
grievance §favailable)

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4. What steps, if any, did you take to appeal that decision? ls the grievance
process completed? If not, explain why not. (Descrr‘be all eforrs to appeal to
the highest level of the grievance process.)

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F. lf you did not file a grievance:

I. If there are any reasons why you did not file a grievance, state them here:

 

 

 

 

2. If you did not file a grievance but you did inform officials of your claim, state
who you informed, when and how, and their response, if any:

 

 

 

 

G. Please set forth any additional information that is relevant to the exhaustion of your
administrative remedies

 

 

 

(Note: You may attach as exhibits to this complaint any documents related to the
exhaustion of your administrative remedies.)

VIII. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal m federal court
without paying the filing fee if that prisoner has “on three or more prior occasions, while
incarcerated or detained' 111 any facility, brought an action or appeal` m a court of the United
States that was dismissed on the grounds that it is fl'ivolous, malicious, or fails to state a claim
upon which relief may be granted, unless the prisoner is under imminent danger of serious

physical' lnjury. ” 28 U S. C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes
rulc”?

 

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lf so, state which court dismissed your case, when this occurred, and attach a copy ofthe
order if possible.

 

 

A. Have you filed other lawsuits in state or federal court dealing with the same facts
involved in this action?

E Yes

No

B. lf your answer to A is yes, describe each lawsuit by answering questions l through 7
below. (if there is more than one lawsuit describe the additional lawsuits on another

page, using the same format.)

l.

Parties to the previous lawsuit

Plaintiff(s)
Defendant(s)

 

 

Court (U“ federal court, name the disirict; §fstate court, name the county and
State)

 

Docket or index number

 

Name of Judge assigned to your case

 

Approximate date of filing lawsuit

 

ls the case still pending?

m Yes
E No

lf no, give the approximate date of disposition.

10

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7. What was the result of the case? (For example: Was the case dismissed? Was
judgment entered in your favor? Was the case appealed?)

 

 

C. Have you filed other lawsuits in state or federal court otherwise relating to the
conditions of your imprisonment?
Yes
131 No
D. If your answer to C is yes, describe each lawsuit by answering questions 1 through 7

below. (If there is more than one lawsuit, describe the additional lawsuits on another
page, using the same format.)

 

 

 

l. Parties to the previous iawsuit
Plaintiff(s)
Defendant(s)

2. Court (iffederal court, name the district,' i state court, name the county and
State)

3. Docket or index number

 

4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. ls the case still pending?

m Yes

m No (Hno, give the approximate date of disposition):

ll

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IX.

7. What was the result of the case? (F or exampie: Was the case dismissed?
Was;"udgment entered in yourfavor? Was the case appealed?)

 

 

Certification and Closing

Under Federal Rule of Civil Procedure ll, by signing below, l certify to the best of my
knowledge, information, and belief that this complaint: (l) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
of litigation; (2} is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identitied, will likely have evidentiary support after a reasonable opportunity
for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule l i.

l agree to provide the Clerk’s Ofiice with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on tile with the

Clerk’s Oli‘ice may result in the dismissal of my case.
Date of signing: §§ la , 20 _[_Z
Signature of Plaintiff MM}?/l

Prinr¢d Name ornamin EaA¢/~r /:,. ?A,’//.'Z»F'

Prison recordation # l'l 5 fig l 5
Prison Address FQD 6 U- O‘ boy /q 0
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